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     UNITED STATES DISTRICT COURT FOR THE
     DISTRICT OF NEW JERSEY
     --------------------------------------------------------------------
     JULIE A. SU, Acting Secretary of Labor, United States :
     Department of Labor, 1    0 F




                                                                          :
                                       Plaintiff,
                               v.                                         :
                                                                              No. 2:20-CV-17785 (KM) (ESK)
     ERNIE’S AUTO DETAILING INC. and ERNESTO                              :
     DECENA a/k/a BUENAVENTURA E. DECENA,
     individually,                                                        :

                                       Defendants.                        :
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                                           [PROPOSED] JUDGMENT

            WHEREAS, Plaintiff Julie A. Su, Acting Secretary of Labor, United States Department of

 Labor (the “Secretary”) filed a Complaint on December 2, 2020, alleging that Defendants Ernie’s

 Auto Detailing, Inc. and Ernesto Decena a/k/a Buenaventura Decena (collectively, “Defendants”)

 willfully violated the overtime and recordkeeping requirements of the Fair Labor Standards Act of

 1938, as amended 29 U.S.C. § 201, et seq. (the “FLSA”);

            WHEREAS, the Clerk of the Court entered default against Defendants on December 30,

 2022 for their failure to defend this action;

            WHEREAS, the Secretary filed an application for default judgment against Defendants on

 May 11, 2023; and

            WHEREAS, this Court has fully considered the arguments and authorities submitted by

 the Secretary,




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  Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Acting Secretary of Labor Julie
 A. Su is automatically substituted as Plaintiff.
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        IT IS HEREBY ODERED, ADJUDGED, AND DECREED that:

                                                I.

        The Secretary’s application for default judgment is GRANTED.

                                                II.

        Judgment shall be entered for the Secretary and against Defendants Ernie’s Auto Detailing,

 Inc. and Ernesto Decena a/k/a Buenaventura Decena pursuant to Rule 55(b) of the Federal Rules

 of Civil Procedure.

                                               III.

        Defendants willfully violated the FLSA’s overtime and recordkeeping provisions, 29

 U.S.C. §§ 207(a), 211(c), 215(a)(2), and 215(a)(5).

                                               IV.

        Defendants are jointly and severally liable to the Secretary for back wages and liquidated

 damages pursuant to sections 16(c) and 17 of the FLSA, 29 U.S.C. §§ 216(c) and 217, in the

 amount of $8,277,810 in back wages and an equal amount of $8,277,810 in liquidated damages,

 for a total of $16,555,620, plus post-judgment interest.

                                                V.

        Defendants, their officers, agents, servants, employees, and attorneys, and other persons

 who are in active concert or participation with them are permanently restrained and enjoined from

 violating the provisions of the FLSA, 29 U.S.C. § 201, et seq.

                                               VI.

        The Court retains jurisdiction over any matter pertaining to this Judgment.




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       IT IS SO ORDERED.


 Dated: ___________________, 2023
        Newark, New Jersey




                                     THE HONORABLE KEVIN MCNULTY
                                     UNITED STATES DISTRICT JUDGE




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